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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

LEONID ()PACIC
On behalf of himself and all others
similarly situated

Plaintiff, Civil Action No.
vs.
WEIS MARKETS, INC. d/b/a MR. Z’s CLASS ACTION
SUPER MARKETS, KING’S SUPER
MARKETS and SCOT’S LO-COST

Defendants.

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JURY TRIAL ])EMANDED
CLASS ACTION C()MPLAINT
I. Preliminal_'y Statement
l. This is a consumer class action based upon Defendants’ violation of Section
léSlc(g) of the Fair Credit Reporting Act, 15 U.S.C. § § 1681 et seq., as amended (the
“FCRA”). This section of the FCRA, like many others, was designed to combat the rising tide of
identity theft experienced throughout the nation in recent years. It requires that companies which
accept credit and debit cards restrict the information that they print on sales receipts. Such a
practice, if followed, reduces an identity thief s ability to obtain valuable account information
relating to a consumer. Despite the simple steps necessary to comply, and despite abundant
notice, Defendants have simply chosen to ignore complying with the FCRA. As such, consumers
who purchase goods and services from Defendants receive none of the benefits that section
1681c(g) was designed to confer, and are uniformly burdened with an elevated risk of identity

theft.

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II. Jurisdiction and Venue

2. Jurisdiction ofthis Cou.rt arises under 15 U.S.C. § 1681p, 28 U.S.C. § §
1331 and 1337.

3. Venue lies properly in this district pursuant to 28 U.S.C. § 139l(b).

III. Mg§

4. Plaintiff Leonid Opacic is an adult individual who resides at 227 Front
Street, Catasauqua, Pennsylvania.

5. Defendant Weis Markets, Inc. d!b/a Mr. Z’s Supermarket, King’s
Supermarket and Scot’s Lo-Cost (hereafter “Weis”) is a business entity which regularly conducts
business in Lehigh County, Pennsylvania. lt has a principle place of business located at 1000
south 2“" street sunbury, Pennsylvania 17301.

IV. Factual Allegations

A. Defendant’s Practice

6. In 2003, the Fair and Accurate Credit Transactions Act (“FACTA”) was
enacted by Congress, and signed into law by President George Bush. One of FACTA’s primary
purposes was to amend the FCRA through the addition of identity theft protections for
consumers

7. One FACTA provision was specifically designed to thwart identity thieves’
ability to gain sensitive information regarding a consumer’s credit or debit account from a
receipt, which the consumer discarded or lost. Codified at 15 U.S.C. §1681c(g), this provision
provides as follows:

Except as otherwise provided in this subj ection, no person that accepts credit

cards for the transaction of business shall print more than the last 5 digits of the
cardholder at the point of sale or transaction

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(This section shall hereafter be referred to as the “Receipt Provision.”)

8. FACTA gave companies a generous three-year cushion within which to
comply with the Receipt Provision.

9. Notwithstanding the fact that they have had over three years to comply,
Defendants continue to issue receipts at the point of sale transactions, which contain more than 5
digits from the credit card or account number in direct violation of the Receipt Provision.

10. Notwithstanding the Receipt Provision, Defendants continue to deliberately,
willfully, intentionally, recklessly and negligently violate FACTA by issuing receipts which do
not comply with the FCRA.

11. Defendants’ practice not only violates the law, it exacts harm by exposing
consumers’ Sensitive account information and subjecting each affected consumer to an ongoing
and elevated risk of becoming the victim of identity theft.

B. The Experience of The Representative Plaintiff

12. On or about March 23, 2007, Plaintiff purchased groceries at one of the
Defendant Weis grocery stores, specifically Weis store number 186. To pay for the groceries,
Plaintiff` used his VISA debit card. Following the transaction, Plaintiff received a receipt, which
included ten digits of his VISA debit card number.

13. At all times pertinent hereto, Defendants were acting by and through their agents,
servants and/or employees who were acting within the course and scope of their agency or
employment, and under the direct supervision and control of the Defendants herein.

14. At all times pertinent hereto, the conduct of the Defendants, as well as that of its
agents, servants and/or employees, was willful, reckless, and in grossly negligent disregard for

federal laws and the rights of the Plaintiff herein.

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V. Class Action Allegations

15. Plaintiff brings this action individually and as a class action for Defendants’
violation of section 168lc(g) of the FCRA, pursuant to Rules 23(a) and 23(b) of the Federal
Rules of Civil Procedure, on behalf of the following Class: All persons in the United States to
whom, on or after December 4, 2006 and continuing through the resolution of this case,
Defendants provided an electronically printed receipt at the point of sale or transaction on which
Defendants printed more than the last five digits of the person’s credit or debit card or the
expiration date of the card.

16. The Class is so numerous that joinder of all members is impracticable Although
the precise number of Class members is known only to Defendants, Plaintiff avers upon
information and belief that the Class numbers in the hundreds if not thousands, as referenced
above.

17. There are questions of law and fact common to the Class that predominate over
any questions affecting only individual Class members The principal question is whether the
Defendants willfully violated section l6810(g) of the FCRA by failing to provide consumers
who used their credit and debit cards in point of sale transaction(s) with Defendants, with
electronically printed receipts that complied with the Receipt Provision.

18. Plaintiff’s claims are typical of the claims of the Class, which all arise from the
Same operative facts and are based on the same legal theories

19. Plaintiff will fairly and adequately protect the interest of the Class Plaintiff is
committed to vigorously litigating this matter. Further, Plaintiff has secured counsel experienced
in handling consumer class actions Neither Plaintiff nor his counsel has any interests which

might cause them not to vigorously pursue this claim.

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20. This action should be maintained as a class action because the prosecution of
separate actions by individual members of the Class would create a risk of inconsistent or
varying adjudications with respect to individual members which would establish incompatible
standards of conduct for the parties opposing the Class, as well as a risk of adjudications with
respect to individual members which would as a practical matter be dispositive of the interests of
other members not parties to the adjudications or substantially impair or impede their ability to
protect their interests

21. Defendants have acted or refused to act on grounds generally applicable to the
Class, thereby making appropriate final injunctive relief or corresponding declaratory relief with
respect to the Class as a whole.

22. Whether Defendants failed to comply with the Receipt Provision as detailed by 15
U.S.C. § 1681c(g) can be easily determined by a review of Defendants’ policies and a ministerial
inspection of Defendants’ business records

23. A class action is a superior method for the fair and efficient adjudication of this
controversy. The interest of Class members in individually controlling the prosecution of
separate claims against Defendants is small as the maximum statutory damages are limited to
$1,000.00 under the FCRA. Management of the Class claims is likely to present significantly
fewer difficulties than those presented in many individual claims The identities of the Class
members may be obtained from Defendants’ records

VI- MLILS
COUNT ONE - FCRA
24. Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

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25. Title 15 U.S.C. § l6810(g) states as follows:

Except as otherwise provided in this subsection, no person that accepts credit
cards or debit cards for the transaction of business Shall print more than the last 5

digits of the card number or the expiration date upon any receipt provided to the

cardholder at the point of sale or transaction

26. This section applies to any “device that electronically prints receipts” (hereafter
“Devices “) for point of sale transactions 15 U.S.C. § l6810(g)(3).

27. Defendants employ the use of said Devices for point of sale transactions at the
location of Weis Market number 186.

28. On or alter December 4, 2006, at the location of Defendant Weis, Plaintiff and
members of the Class were provided receipt(s) by Defendants that failed to comply with the
Receipt Provision.

29. Defendants were aware, on or before December 4, 2006, of both the Receipt
Provision as well as the need to comply with said provision

30. In anticipation of the December 4, 2006 deadline, many credit card companies
including but not limited to VISA and MasterCard, advised companies of the need for
compliance with the Receipt Provision. Additionally, many credit card companies, such as VISA
and MasterCard, implemented policies well in advance of the December 4, 2006 deadline to
ensure the compliance with the Receipt Provision, by themselves as well as that of their
customers

31. Also in anticipation of the December 4, 2006 deadline and the Receipt Provision,
the majority of Defendants’ peers and competitors took the necessary steps to bring their
business practices in line with FACTA.

32. Notwithstanding the three year cushion to prepare for FACTA and its

accompanying provisions, including but not limited to the Receipt Provision; knowledge of the

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accompanying provisions including but not limited to the Receipt Provision and FACTA as a
whole; the repeated reminders of FACTA and its accompanying provisions and the actions of
Defendants’ peers and competitors Defendants knowingly, willfully, intentionally, and
recklessly violated and continue to violate the FCRA and the Receipt Provision. ln turn, Plaintiff
and members of the Class continue to be exposed to an elevated risk of identity theft

33. As a result of Defendants’ willful violations of the FCRA, Defendants are liable
to Plaintiff and members of the Class pursuant to 15 U.S C. § 1681n.

VIII. JURY TRIAL 1]}EMANDED
34. Plaintiff demands trial by jury on all issues so triable.
VIII. PRAYER FOR RELIEF

WHERFORE, Plaintiff seeks judgment in favor of himself and the Class for the
following relief:

(a) An order certifying the proposed Class under Rule 23 of the Federal Rules of
Civil Procedure and appointing Plaintiff and his counsel to represent the Class;

(b) Statutory damages for willful violation of the FCRA in an amount between
$100.00 and $1000.00 per Class member;

(c) Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §1681n of the FCRA;

(d) An order enjoining Defendants nom continuing to violate the Receipt Provision;

(e) An order directing Defendants to hereafter electronically print receipts from point

of sales transactions in compliance with 15 U.S.C. § l681c(g); and

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(f) Such other and further relief as may be necessary, just and proper.

Dated: May 29, 2007

Respectfully submitted,

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